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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  ROCK HILL DIVISION

FREDRICK J GREEN,                                §
          Plaintiff,                             §
                                                 §
vs.                                              §    CIVIL ACTION NO. 0:15-3245-MGL
                                                 §
RENT-A-CENTER EAST, INC.,                        §
         Defendant.                              §

            ORDER ADOPTING THE REPORT AND RECOMMENDATION,
                GRANTING DEFENDANT’S MOTION TO DISMISS,
                        COMPELLING ARBITRATION,
        AND DENYING PLAINTIFF’S MOTION FOR DECLARATORY JUDGMENT

       This case was filed as a job discrimination action. Plaintiff is represented by counsel. The

matter is before the Court for review of the Report and Recommendation (Report) of the United

States Magistrate Judge suggesting that Defendant’s Motion to Dismiss or Stay the Case and Compel

Arbitration be granted, Plaintiff’s Motion for Declaratory Judgment be denied, and this case be

dismissed in its entirety. The Report was made in accordance with 28 U.S.C. § 636 and Local Civil

Rule 73.02 for the District of South Carolina.

       The Magistrate Judge makes only a recommendation to this Court. The recommendation has

no presumptive weight. The responsibility to make a final determination remains with the Court.

Mathews v. Weber, 423 U.S. 261, 270 (1976). The Court is charged with making a de novo

determination of those portions of the Report to which specific objection is made, and the Court may
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accept, reject, or modify, in whole or in part, the recommendation of the Magistrate Judge or

recommit the matter with instructions. 28 U.S.C. § 636(b)(1).

        The Magistrate Judge filed the Report on November 24, 2015, but Plaintiff failed to file any

objections to the Report. “[I]n the absence of a timely filed objection, a district court need not

conduct a de novo review, but instead must ‘only satisfy itself that there is no clear error on the face

of the record in order to accept the recommendation.’” Diamond v. Colonial Life & Acc. Ins. Co.,

416 F.3d310, 315 (4th Cir. 2005) (quoting Fed. R. Civ. P. 72 advisory committee's note). Moreover,

a failure to object waives appellate review. Wright v. Collins, 766 F.2d 841, 845-46 (4th Cir. 1985).

        After a thorough review of the Report and the record in this case pursuant to the standard set

forth above, the Court adopts the Report to the extent that it does not contradict this order, and

incorporates it herein. Therefore, it is the judgment of the Court that Defendant’s Motion to Dismiss

and Compel Arbitration is GRANTED and Plaintiff’s Motion for Declaratory Judgment is

DENIED.

        IT IS SO ORDERED.

        Signed this 15th day of December 2015, in Columbia, South Carolina.



                                                           s/ Mary Geiger Lewis
                                                           MARY GEIGER LEWIS
                                                           UNITED STATES DISTRICT JUDGE




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